      Case 3:13-cv-00347-LRH-VPC Document 93 Filed 06/26/17 Page 1 of 2

                                                                    FILED
                   UNITED STATES COURT OF APPEALS                      JUN 26 2017

                                                                 MOLLY C. DWYER, CLERK
                           FOR THE NINTH CIRCUIT                  U.S. COURT OF APPEALS




DENISE ABBEY, individually and as              No.   15-15863
special administrator of the Estate of
Micah Abbey,                                   D.C. No.
                                               3:13-cv-00347-LRH-VPC
             Plaintiff-Appellant,              District of Nevada,
                                               Reno
v.

CITY OF RENO; RENO POLICE                      ORDER
DEPARTMENT; KEITH PLEICH,
Individually and in his Official Capacity as
a Police Officer; DANIEL BOND,
Individually and in his Official Capacity as
a Police Officer; SCOTT RASMUSSEN,
Individually and in his Official Capacity as
a Police Officer,

             Defendants-Appellees,

and

BRAD DEMITROPOULIS; BOARD OF
REGENTS FOR THE NEVADA
SYSTEM OF HIGHER EDUCATION ON
BEHALF OF THE UNIVERSITY OF
NEVADA, RENO,

             Defendants.
         Case 3:13-cv-00347-LRH-VPC Document 93 Filed 06/26/17 Page 2 of 2




Before: SCHROEDER and RAWLINSON, Circuit Judges, and DRAIN,* District
Judge.

         Judge Rawlinson has voted to deny Plaintiff-Appellant’s petition for

rehearing en banc, and Judges Schroeder and Drain have so recommended.

         The full court has been advised of the petition for rehearing en banc and no

judge has requested a vote on whether to rehear the matter en banc. Fed. R. App.

P. 35.

         Plaintiff-Appellant’s petition for rehearing en banc is denied. Further

petitions for rehearing and rehearing en banc shall not be entertained.




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             The Honorable Gershwin A. Drain, United States District Judge for
the Eastern District of Michigan, sitting by designation.
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